WMN/VR :
F#2009R00518, 2009R00710
NY-NYE-603

 

UNITED STATES DISTRICT COURT
BASTERN DISTRICT OF NEW YORK

 

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FILED UNDER SEAL
UNITED STATES OF AMERICA COMPLATLILNT
- against - {18 U.S.C. §§ 2320, 1956)

WADIE JAAFAR,
HUSSEN ALI CHAHINE,
also known as “Hussein,”

         

YOUSSEF AYOUB,
AYMAN JAAPAR,
also known as “Mohammad” and
“Abu Jameel,”
HATDAR AYOUB,
HASSAN ALT HAMDAN,
ALI ATA SALEH and
MAHDI TALEEB,
Defendants.
a a
EASTERN DISTRICT OF NEW YORK, SS:

JOSEPH HRONCICH, being duly sworn, deposes and states
that he is a Special Agent with the Drug Enforcement
Administration (“DEA”), duly appointed according to law and
acting as such.

Upon information and belief, in or about and between
January 2009 and January 2010, both dates being approximate and
inclusive, within the Eastern District of New York and elsewhere,
Che defendants WADIE JAAFAR, HUSSEN ALI CHAHINE, also known as

“Hussein,” YOUSSEF AYOUB, HAIDAR AYOUB,

 
AYMAN JAAFAR, also known as “Mohammad” and “Abu Jameel,” HASSAN
ALT HAMDAN, ALI ATA SALEH and MAHDI TALEEB, together with others,
did knowingly and intentionally traffic in goods and knowingly
use a counterfeit mark on or in connection with such goods.

{Title 18, United States Code, Section 2320}

Upon information and belief, in or about and between
January 2009 and January 2010, both dates being approximate and
inclusive, within the Eastern District of New York and elsewhere,
the defendants WADITE JAAFAR, YOUSSEF AYOUB, HASSAN ALT HAMDAN,
ALI ATA SALEH and MAHDI TALEEB, together with others, did
knowingly and intentionally conspire to: {1) conduct financial
transactions in and affecting interstate and foreign commerce,
which in fact involved the proceeds of specified unlawful
activity, to wit: counterfeit clothing trafficking, in violation
of Title 18, United States Code, Section 2320, knowing that the
property involved in the financial transactions represented the
proceeds of some. form of unlawful activity with the intent to
promote the carrying on of specified unlawful activity, in
violation of Title 18, United States Code, Section
1956 (a) (1) (A) (I); and (11) engage in monetary transactions, in
and affecting interstate and foreign commerce, in criminally
derived property that was of a value greater than $10,000 and
that was derived from specified unlawful activity, to wit:

counterfeit clothing trafficking, in violation of Title 18,
United States Code, Section 2320, all in violation of Title 18,
United States Code, Section 1957.

(Title 18, United States Code, Section 1956 (h))

The source of your deponent’s information and the
grounds for his belief are as follows:#

1. I have been a Special Agent with the DEA for
approximately five years. During my tenure with the DEA, I have
participated in numerous money laundering and narcotics
investigations during the course of which I have (a) conducted
physical and wire surveillance; {b) executed search warrants at
locations where drugs, drug proceeds and records of narcotics and
money laundering transactions have been found; (c) reviewed and
analyzed numerous taped conversations and records of drug
traffickers and money launderers; (d) debriefed cooperating drug
traffickers and money launderers; (e) monitored wiretapped
conversations of drug traffickers and reviewed line sheets
prepared by wiretap monitors; and (f) conducted surveillance of
individuals engaged in drug trafficking and money laundering.
Prior to joining the DEA, I worked as a United States Customs and
Border Protection (“CBP”) officer. During my tenure with CBP, I
participated in several searches and seizures of counterfeit

merchandise. I also interviewed importers and exporters of

 

a Because the purpose of this Complaint is to state only
probable cause to arrest, I have not described all the relevant
facts and circumstances of which I am aware.
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garments. Through my training, education and experience, I have
become familiar with (a) the manner in which money is laundered
and hidden; (b) the manner in which illegal drugs and contraband
are imported and distributed; (c) the method of payment for such
drugs; and (dad) the efforts of persons involved in such activity
to avoid detection by law enforcement. Through my tenure with
CBP and discussions with other agents, I have become familiar
with the manner in which counterfeit merchandise trafficking

operations are run and with related money laundering

 

investigations.
I. Background of the Investigation
2. Since approximately 2006, the DEA and the Federal

Bureau of Investigation (“FBI”) have been investigating an
organization involved in money laundering of proceeds from
narcotics distribution and trafficking of counterfeit goods.
Through the use of wiretaps, members of the organization were
determined to be related by family ties and were operating bi-
coastally within the United States, as well as internationally.
In mid-2007, the investigation culminated in, among other things,
the seizure of ten kilograms of cocaine in the New York area and
the arrest and prosecution of multiple individuals in the

Southern District of New York and the Central District of
California.2?/ Those individuals eventually pled guilty to
various charges, including money laundering, narcotics
distribution, and trafficking of counterfeit clothing.

A. The Identification of Co-Conspirator Younes El Saleh,
Authorization of Wiretaps, and the Seizure of
Counterfeit Clothing Worth Over $1 Million
3, One of the individuals arrested in mid-2007

eventually became a cooperating witness (“CW") and pleaded guilty
pursuant to a cooperation agreement to charges of money
laundering and trafficking of counterfeit clothing.#/ Among
other things, CW stated, in sum and substance, that one of the
money laundering and counterfeit clothing co-conspirators who was
not arrested in 2007 was Younes El Saleh.

4. CW's information about Younes El Saleh was
corroborated, among other things, by bank documents.
Specifically, in April 2009, agents reviewed bank account records
for Samar Clothing Corporation, a business registered to Younes
El Saleh and a location where Younes El Saleh had previously been
observed by DEA agents. The account records for the business,
which covered the period between January 2007 and February 2009,

showed suspicious banking activity, including multiple deposits

 

2/ The investigation in the Central District of California also
resulted in, among other things, the seizure of 18 kilograms of
cocaine and $95,000 in narcotics proceeds.

a/ CW has not been sentenced yet and thus has not yet received
any benefit for his cooperation. However, CW has provided
information that proved reliable, credible and accurate, and was
corroborated by independent evidence.
of sequentially numbered postal money orders purchased in small
amounts and at various locations in order to avoid reporting
requirements.

5. On or about July 30, 2009, the Honorable Carol B.
Amon, United States District Judge for the Eastern District of
New York, authorized the interception of calls over a cellular
telephone used by Younes El Saleh (hereinafter, the “Younes
Telephone”). This authorization was extended several times such
that interception continued until approximately November 2009.

6. On or about October 29, 2009, the New York Police
Department (“NYPD”) executed a judicially-authorized search of a
warehouse located in Queens, New York, that was leased by Younes
El Saleh. The warrant, issued by a New York State judge,
authorized the NYPD to search for and seize counterfeit clothing,
as well as other evidence of counterfeit trafficking.
Counterfeit clothing worth over $1 million, account ledgers and
other documents were seized during that search.

7. In or about early 2010, DEA agents observed Younes
El Saleh meet with an unidentified individual inside of a parked
car. Specifically, agents observed Younes El Saleh approach the
parked car, enter into the passenger front seat, and then exit
that front seat approximately two minutes later. Based on their
training and experience, having witnessed individuals transfer

narcotics and narcotics proceeds in that manner, agents found
Younes El Saleh’s actions suspicious. Not long after agents
witnessed that meeting, they stopped the unidentified individual
without arresting him and seized a plastic bag containing
approximately $100,000 in United States currency. Based on my
training, experience and knowledge of this investigation, I
believe that Younes El Saleh provided this currency to the
individual during their meeting in the car and that this money
was the proceeds of illegal activity, which proceeds Younes El
Saleh intended to be laundered.?/
B. The Identification and Arrest of

Co-Conspirator Henri Al Halabi, and

the Seizure of Proceeds from Counterfeit Clothing

8. One of the individuals intercepted over the Younes
Telephone was Henri Al Halabi, also known as “Isaac.” The
conversations showed Al Halabi to be involved in the trafficking
of counterfeit clothing and laundering money through a bank
account he controlled in the name of Zoom Denim.

9. According to records for that Zoom Denim bank
account, from March 20, 2009 to December 15, 2009, roughly
thirty-eight structured currency deposits were made into the

account totaling approximately $177,992.00. None of the

 

a/ In or about December 2009, the Honorable James Orenstein,
United States Magistrate Judge for the Eastern District of New
York, issued an arrest warrant for Younes El Saleh. To protect
the integrity of this investigation, agents decided not to arrest
El Saleh at that time and instead to arrest him when other co-
conspirators named in this complaint are arrested.
individual deposits exceeded $10,000, and many of the deposits
were around $8,000 or were made on consecutive days.
Furthermore, account records show that the account was being used
as a “pass-through” account - in other words, large amounts of
money were quickly deposited into the account and just as quickly
withdrawn or moved to other accounts. For example, in the short
span between September and November 2009, approximately $2
million was deposited into the account and approximately $2
million left the account. However, the highest balance in the
account at any one time was only approximately $350,000. In
addition, a recent Dun & Bradstreet report estimated that Zoom
Denim has annual sales of $170,000, which low number is
inconsistent with the high amount of money passing through that
bank account.

10. on or about January 26, 2010, agents arrested
Henri Al Halabi pursuant to a warrant issued by the Honorable
Roanne L. Mann, United States Magistrate Judge for the Eastern
District of New York. Gee United States v. Al Halabi, M-10-071.
Agents also seized the Zoom Denim account pursuant to a separate
order also issued by Judge Mann. In post-arrest statements, Al
Halabi admitted, in sum and in substance, to engaging in the
trafficking of counterfeit clothing and that money in the Zoom
Denim account was the proceeds of that illegal activity. Al

Halabi further stated, in sum and in substance, that at least
some of the business entities that bank records showed had
received money drawn from the Zoom Denim account were also
involved in the trafficking of counterfeit clothing.
II. The Identification and Illegal Activity of WADTE JAAFAR

11. In addition to providing information about Younes
Fl Saleh as discussed above, CW stated, in sum and substance,
that WADIE JAAFAR is a money laundering associate of Younes El
Saleh and that CW had purchased counterfeit clothing from JAAFAR.
The information provided by CW is corroborated by other evidence
gathered during the 2007 investigation that led to CW’s arrest.
Specifically, WADIE JAAFAR’s cellular telephone number
(hereinafter, the “Wadie Telephone”) was found stored in the
cellular telephone of the individual arrested with ten kilograms
of cocaine and prosecuted in the Southern District of New York.

12. Records for Sprint Nextel show that the Wadie
Telephone was registered to WADIE JAAFAR at the time it was found
stored in the drug associate’s telephone and continues to he
registered to him. The Wadie Telephone was also intercepted over
the wiretap of the Younes Telephone. On or about August 3, 2009,
at 1:21 p.m., Younes El Saleh used the Younes Telephone to call
WADIE JAAFAR on the Wadie Telephone. This call was recorded
under the authorization provided by the wiretap for the Younes
Telephone. In the conversation, WADIE JAAFAR asked if he could

“give the money in the airport.” Younes El Saleh responded, “No,
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that’s not ok” and later added that he does not “want to take
them.” However, Younes El Saleh then asked whether WADIE JAAFAR
“had them fixed/ready . . . big and like that?” WADIE JAAFAR
responded affirmatively and stated, “If you want to take them
with you, Til give it to you in the airport.” Younes El Saleh
replied, “Ok, I’1l take them from you before I leave.” Based on
my training, experience and knowledge of this investigation, I
believe that, in this conversation, WADIE JAAFAR asked Younes El
Saleh to take proceeds from illegal activities to Lebanon so as
to avoid detection by law enforcement. Specifically, I believe
that WADIE JAAFAR asked if he could give Younes El Saleh money at
the airport before they boarded their flight to Lebanon (“give
the money in the airport”) and that Younes El Saleh initially
rejected the request ("No, that’s not ok” and “want to take
them”). However, after initially rejecting the request, based on
my training, experience and knowledge of this investigation, I
believe that Younes El Saleh inquired whether the cash was hidden
well (“had them fixed/ready”) and in large denominations (“big
and like that”). I further believe that, after WADIE JAAFAR
responded affirmatively and again asked if Younes El Saleh would
take the money (“If you want to take them with you, I'll give it
to you in the airport”), Younes El Saleh agreed to do so (*Ok,
I'll take them from you before I leave”). My beliefs as to the

meaning of this conversation were corroborated by events that |
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occurred after the conversation, as discussed in the next
paragraph.

13. Agents checked airline records and confirmed that
Younes El Saleh and WADIE JAAFAR were scheduled to fly to Lebanon
on August 3, 2009. FBI agents conducted surveillance at John F.
Kennedy International Airport on that date, and confirmed that
Younes El Saleh and WADIE JAAFAR boarded a flight with a final
destination of Lebanon. However, prior to boarding, Customs and
Border Protection (“CBP”) officers conducted an inspection of
Younes El Saleh and WADIE JAAFAR. CBP officers found that Younes
El Saleh was carrying $9,500 and WADIE JAAFAR was carrying
$9,800, both amounts just under the $10,000 reporting requirement
For individuals.?/ If WADIE JAAFAR had carried that currency
alone, he would have been subject to reporting requirements.
Thus, I believe, consistent with the above-described recorded
call, that WADIE JAAFAR had asked Younes El Saleh to carry the
money so as to avoid reporting requirements.

14. This belief is further corroborated by agents’
observations of Younes El Saleh’s and WADIE JAAFAR’s behavior at

the airport before the CBP inspection. Notably, Younes El Saleh,

 

Bf Under Title 31, United States Code, Section 5316, “a person

shall file a report .. . when the person. . . knowingly
transports, is about to transport, or has transported, monetary
instruments of more than $10,000 at one time from a place in the
United States to or through a place outside the United States[.]”
Failure to adhere to this reporting requirement is a felony
offense. See 31 U.S.C. § 5332.
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WADIE JAAFAR and a third male met at the airport prior to going
through the security checkpoint. However, all three appeared to
take conscious steps to avoid going through the security
checkpoint together. Specifically, after they met, WADIE JAAFAR
went through the security checkpoint first while Younes El Saleh
and the other male stayed behind. Approximately twenty minutes
later, the other male passed through the checkpoint while Younes
El Saleh continued to stay behind. Approximately twenty minutes
after that, Younes El Saleh passed through the checkpoint.
Subsequent to passing through the checkpoint, all three
individuals met up again. Thus, I believe, consistent with the
above-described recorded call, that these actions by WADIE JAAFAR
and Younes El Saleh demonstrate their intent to transport money
so as to avoid reporting requirements and detection by law
enforcement.

15. On or about October 21, 2009, the Honorable Carol
B. Amon, United States District Judge for the Eastern District of
New York, authorized the interception of calls over the Wadie
Telephone. The conversations intercepted over the Wadie
Telephone showed WADIE JAAFAR to be involved in counterfeit
clothing trafficking and illegal financial activities.

16. On October 24, 2009, at 10:46 a.m., WADIE JAAFAR
called an unidentified male using the Wadie Telephone. In that

conversation, the unidentified male stated, “Nassri went on the
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way/road, they took/arrested him” and added, “You can’t play
exposed like that . . . keep bringing customers from the outside
and everything[.]" WADIE JAAFAR responded, “Really?” The
unidentified male replied, “The reality is that police is here
whole day. For the last two years it was down[,] they left, now
that it starting picking up they... .” Agents believe that,
in this conversation, WADIE JAAFAR and the unidentified male
discussed the arrest of a counterfeit clothing and money
laundering associate. Specifically, agents believe that the
unidentified male informed WADIE JAAFAR that their associate was
arrested (“Nassri went on the way/road, they took/arrested him”)
and WADIE JAAFAR responded in disbelief (“Really?”). Agents
Further believe that the unidentified male commented that this
associate made the mistake of dealing with individuals whom he
did not know well (“You can’t play exposed like that . .. keep
bringing customers from the outside and everything”), and that
the police, after being relaxed about enforcement for several
years, are now aggressive again (“police is here whole day. For
the last two years it was down[,] they left, now that it starting
picking up”).

17. On October 30, 2009, at 11:23 a.m., WADIE JAAFAR

received a call on the Wadie Telephone from Younes El Saleh.§!

 

&/ As discussed above, the day before, on October 29, 2009, the
NYPD, acting in concert with the DEA and FBI, executed a
judicially-authorized search of Younes El Saleh’s warehouse and
seized over $1 million worth of counterfeit clothing.
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In this conversation, Younes Fl Saleh told WADIE JAAFAR that he
(Fl Saleh) “is not well[.]” Younes El Saleh added, “I’1l1 talk to
you later, big thing have happened in the warehouse.” WADIE
JAAFAR responded, “Since long time ago we've asked you to leave.”
Agents believe that, in this conversation, Younes El Saleh stated
that he was unhappy (“not well”) and the reason for his
unhappiness was the police raid on his Queens warehouse (“big
thing have happened in the warehouse”). Agents further believe
that WADIE JAAFAR responded to El Saleh by stating that he
(JAAFAR) had previously warned Younes El Saleh to change the
warehouse location so as to avoid detection by law enforcement
(“Since long time ago we've asked you to leave”).

18. On November 1, 2009, at 10:52 a.m., WADIE JAAFAR
called an unidentified female using the Wadie Telephone. In that
conversation, the unidentified female asked, “Do [you] have any
merchandise to makes some money?” WADIE JAAFAR responded, “I
just got email from someone tomorrow [who will] give some samples

they are good and I have some alligator too.” Agents
believe that, in this conversation, WADIE JAAFAR and the
unidentified female discussed the availability of counterfeit
clothing and that “alligator” is code for Izod or Lacoste brand
clothing. Specifically, agents believe that the unidentified
female asked WADIE JAAFAR if he could provide counterfeit

clothing ("Do [you] have any merchandise to makes some money?”)
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and that WADIE JAAFAR responded that he expected to get some
counterfeit clothing samples tomorrow in addition to the Izod or
Lacoste merchandise the he already had {*I just got email from
someone tomorrow [who will] give some samples .. . they are good
and I have some alligator too”).

19. Later that day, at 4:20 p.m., WADIE JAAFAR
received a call on the Wadie Telephone from Younes El Saleh. In
the conversation, WADIE JAAFAR asked if “they left a paper?” and
Younes El Saleh repled, “They left a paper of the merchandise
they took.” WADIE JAAFAR then advised Younes El Saleh, “not to
talk about what happened” and “to get another phone, a ‘prepaid
card’.” Agents believe that, in this conversation, WADIE JAAFPAR
and Younes El Saleh again discussed the law enforcement search of
El Saleh’s warehouse and the seizure of counterfeit clothing.
Specifically, agents believe that WADIE JAAFAR asked if the
individuals who seized the merchandise had left documents
detailing what was seized (“they left a paper?”), and Younes El
Saleh stated that such a document was in fact left behind (*They
left a paper of the merchandise they took”). Agents further
believe that WADIE JAAFAR then advised Younes El Saleh not to
openly discuss the seizure and to get a new cellular telephone -
a prepaid telephone that is more difficult to monitor ~ for added
security against law enforcement (“not to talk about what

happened” and “to get another phone, a ‘prepaid card'”).
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20. On November 8, 2009, at 5:19 p.m., WADIE JAAFAR
used the Wadie Telephone to call an unidentified female, also
known as “Maha.” In this conversation, WADIE JAAFAR asked “Maha”
whether she “showed Lacoste to anyone?” “Maha” responded
negatively, adding “their material is really bad and cheap” and
she “would not even bother showing them to anyone.” WADIE JAAFAR
disagreed, “they are really good.” Agents believe that, in this
conversation, WADIE JAAFAR and the unidentified female, also
known as “Maha,” discussed the quality of the counterfeit Lacoste
clothing WADIE JAAFAR had provided. Specifically, agents believe
that WADIE JAAFAR asked “Maha” whether she had tried to sell the
counterfeit Lacoste clothing (“showed Lacoste to anyone?”) and
“Maha” replied that she did not because the clothing looked
obviously counterfeit (“their material is really bad and cheap”
and “would not even bother showing them to anyone”). Agents
believe that WADIE JAAFAR disagreed with that assessment (“they
are really good”).
TIL. The Identification and Tllegal Activity of HAIDAR AYOUB

21. One of the individuals intercepted over the above-
described wiretaps was defendant HAIDAR AYOUB. For example, on
or about October 19, 2009, Younes El Saleh used the Younes
Telephone to call HAIDAR AYOUB. In that conversation, Younes El

Saleh asked HAIDAR AYOUB to “give a check to HASSAN HAMDAN for
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the price of the jackets.” HAIDAR AYOUB responded, “Ok
do not worry” and explained that he would “add it to your
account[.]” HAIDAR AYOUB also commented that “it is only three
dozen[{.]” Based on my training, experience and knowledge of this
investigation, I believe that, in this conversation, Younes El
Saleh and HAIDAR AYOUB are discussing settling a debt for
counterfeit clothing (“give a check” and “add it to your
account"), specifically three dozen jackets (“for the price of
the jackets” and “only three dozen”). This belief is
corroborated by the additional conversations discussed below.

22. On or about October 24, 2009, Younes El Saleh used
the Younes Telephone to call HAIDAR AYOUB. In that conversation,

Younes El Saleh asked, “Can you send me a check Monday?” and

HAIDAR AYOUB responded, “Sure, ok.” Younes El Saleh then stated,
“You took 7 boxes of jackets.” HAIDAR AYOUB responded, “Yes[,]
minus one piece.” Based on my training, experience and knowledge

of this investigation, I believe that, in this conversation,
Younes El Saleh and HAIDAR AYOUB are again discussing settling a
debt for counterfeit clothing (“Can you send me a check"),

specifically seven boxes of jackets (“You took 7 boxes of

 

af Immediately prior to this call with HAIDAR AYOUB, Younes El
Saleh spoke with co-conspirator HASSAN HAMDAN, The call with
HASSAN HAMDAN is discussed below and corroborates my beliefs
about the illegal activities discussed in this call with HAIDAR
AYOUB.
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jackets” and “Yes[,] minus one piece”). This belief is
corroborated by the additional conversations discussed below.

23. On or about October 31, 2009, HAIDAR AYOUB called
Younes El Saleh on the Younes Telephone. In that conversation,
Younes El Saleh stated, “I felt dizzy today.” HATDAR AYoUB then
asked if “it’s the company?” Younes El Saleh responded, “it is
the company but they took everything, the Black Label, the Cuggi”
and added, “they didn’t leave anything, no Black Label, no Cuggi,
no Akademic long sleeves, there was like 3000 or 4000 pieces.”
HAIDAR AYOUB commented, “I knew it was the company{.] If they
were the others, they [would] have waited for you there!.]”
Based on my training, experience and knowledge of this
investigation, I believe that, in this conversation, Younes El
Saleh and HAIDAR AYOUB discussed the raid on El Saleh’s
warehouse, described above, that resulted in the seizure of over
$1 million worth of counterfeit goods. Based on my training,
experience and knowledge of this investigation, I believe that,
in this conversation, “the company” refers to clothing industry
representatives and “the others” refers to law enforcement.
Specifically, I believe that Younes El Saleh expressed that he
was upset about the raid (“I felt dizzy today”) and told HAIDAR
AYOUB that industry representatives had seized all of his
counterfeit clothing (“It is the company but they took

everything, the Black Label, the Cuggi” and “they didn’t leave
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anything, no Black Label, no Cuggi, no Akademic long sleeves,
there was like 3000 or 4000 pieces”). I further believe that
HAIDAR AYOUB responded that he agreed that it was industry
representatives who seized the clothing, rather than law
enforcement, because law enforcement would have stayed at the
location to arrest Younes El Saleh {*I knew it was the company|[.]
If they were the others, they [would] have waited for you
there”) .2/

24, HAIDAR AYOUB was identified as the speaker in
these conversations through various means. First, CW is familiar
with HAIDAR AYOUB through CW’s counterfeit clothing activities
and CW has stated, in sum and substance, that the number of the
telephone noted above is among the numbers he/she knows to
pertain to HAIDAR AYOUB. Second, in wiretap recordings with
Younes El Saleh, an individual using that above-noted telephone
made plans with Younes El Saleh to meet at El Saleh’s warehouse.
Subsequent wiretap conversations appear to refer to that meeting
and mention “Haidar” as the apparent participant at the meeting.
Thus, based on my training, experience and knowledge of this
investigation, I believe that HAIDAR AYOUB is the speaker the

above-described conversations.

 

Bf Notably, this conversation also confirms my belief that
HAIDAR AYOUB knows that the clothing that he is trafficking is
counterfeit.
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IV. The Identification and Illegal Activity of YOUSSEF AYOUB

25. Another of the individuals intercepted over the
above-described wiretaps was defendant YOUSSEF AYOUB. For
example, on or about October 12, 2009, Younes El Saleh used the
Younes Telephone to call YOUSSEF AYOUB to discuss supplying
counterfeit clothing to YOUSSEF AYOUB, which clothing YOUSSEF
AYOUB would then re-sell. Specifically, Younes El Saleh told

YOUSSEF AYOUB that he had “new Kojjie and black label,”

continuing, “it’s new one[,] you never see it before in your
life.” YOUSSEF AYOUB asked Younes El Saleh to “send some
you have for women.” Younes El Saleh pressed YOUSSEF AYOUB to

“take [a] box or two,” to which YOUSSEF AYOUB responded, “I do
not want to [get stuck] with it[,] and you do not accept
return[s].” Younes El Saleh responded, “what return[?] it's very
cheap price,” and told YOUSSEF AYOUB, “I’m saving you a lot of
money in shipping . . . the guy last week . . . one [of my]
customer{s] took two boxes to UPS and they charged him $71.”
YOUSSEF AYOUB replied, “That guy [at] UPS on 22 [Street] is a
thief . . . he knows that the boxes [have] bootleg goods and he
charge[s] double and no one would talk.” Younes El Saleh
responded, “That guy . . . he charges $20 extra on each box
for his pocket. He makes $2000 or §3000 for himself.” Based on
my training, experience and knowledge of this investigation, I

believe that, in this conversation, Younes El Saleh and YOUSSEF
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AYOUB discussed a future counterfeit clothing sales transaction
and the associated shipping costs. Specifically, I believe that
Younes El Saleh offered to sell counterfeit Coogi and Black Label
clothing to YOUSSEF AYOUB (“I have new Kojjie and black label”),
explaining to YOUSSEF AYOUB that the clothing were new styles
(“it’s new one[,}] you never see it before in your life”). I
believe that YOUSSEF AYOUB accepted El Saleh’s offer (“send some

you have for women”), albeit reluctantly, because he was
worried that El Saleh would not accept returns if the counterfeit
clothing did not sell (*I do not want to [get stuck] with it[,]
and you do not accept return[s]”). In response, I believe that
Younes El Saleh told YOUSSEF AYOUB that he should not worry about
the returns because the price El Saleh was offering YOUSSEF AYOUB
was cheap (“what return[,] it’s very cheap price”), and El Saleh
was saving YOUSSEF AYOUB money on shipping costs associated with
the counterfeit clothing ("I’m saving you a lot of money in
shipping”).. I further believe that both Younes El Saleh and
YOUSSEF AYOUB were lamenting that they had no recourse but to
accept inflated shipping costs based on the nature of their
business, i.e. trafficking in counterfeit clothing (“That guy
fat] UPS on 22 [Street] is a thief . . . he knows that the boxes
[have] bootleg goods and he chargefs] double and no one would

talk.")}.
22

26. On or about October 29, 2009, YOUSSEF AYOUB called
Younes El Saleh on the Younes Telephone. In that conversation,
YOUSSEF AYOUB asked Younes El Saleh to have “a dozen of each
style of the large pants [sent] to the other store.” Younes El
Saleh responded, “The warehouse is gone.” YOUSSEF AYOUB then
asked Younes El Saleh if the police were “going to come get him.”
Younes El Saleh responded that he “[did] not know” and that he
was on his way into the warehouse when he “saw the police in
there.” YOUSSEF AYOUB then asked Younes El Saleh “if the
warehouse is under his [Younes’s] name,” to which Younes El Saleh
responded affirmatively. YOUSSEF AYOUB then told El Saleh “not
to go near” the warehouse, “to stay far away.” Based on my
training, experience and knowledge of this investigation, I
believe that, in this conversation, Younes El Saleh and YOUSSEF
RYOUB discussed the raid on El Saleh’s warehouse, described
above, that resulted in the seizure of over $1 million worth of
counterfeit goods. I also believe that YOUSSEF AYOUB initially
telephoned Younes El Saleh to place an order for counterfeit
clothing (have “a dozen of each style of the large pants [sent]
to the other store”). I further believe that, once YOUSSEF AYOUB
learned about the raid on Younes El Saleh’s warehouse, YOUSSEF
AYOUB inquired as to whether the warehouse was in El Saleh’s name
and admonished El Saleh to stay away from the warehouse (“stay

far away”) because he was aware that the warehouse contained
23
evidence of illegal activity, namely trafficking in counterfeit
clothing.

27. On or about November 2, 2009, YOUSSEF AYOUB called
Younes El Saleh on the Younes Telephone. In that conversation,
YOUSSEF AYOUB asked Younes El Saleh why “the situation is not
straight yet.” Younes El Saleh responded, in sum and substance,
that he did not know who came into the warehouse. YOUSSEF AYOUB

asked if “they left a paper?” Younes El Saleh replied that “they

do leave a paper but [it] has no address no nothing.” YOUSSEF
AYOUB stated, “Now it is clear{.] It is companies . . . maybe
they stole you and you don’t know.” Younes El Saleh responded,

“No, they left a paper, and put down what they took and what they
didn't take. The papers has no address or phone or anything. It
is impossible that will be the police. The last time this
happened to me by companies they left me a yellow paper without
address, and also white paper with what they took.” YOUSSEF
AYOUB responded, “If they are thief{,] they would not leave you
anything.” Younes El Saleh then asked, “How come they didn’t
take the North Face or the Black Label[?] They didn’t even take
the Polo[,] everything that was in the rear.” Based on my
training, experience and knowledge of this investigation, I
believe that, in this conversation, Younes El Saleh and YOUSSEF
AYOUB discussed, once again, the raid on El Saleh’s warehouse,

described above. I further believe that, in this conversation,
“the company” refers to clothing industry representatives, and
that Younes El Saleh was discussing a previous seizure of
counterfeit goods from his warehouse by these clothing industry
representatives (“The last time this happened to me by companies
they left me a yellow paper without address, and also white paper
with what they took”). I also believe that YOUSSEF AYOUB and
Younes El Saleh expressed their belief that clothing industry
representatives, rather than the police or robbers, had raided El
Saleh’s warehouse based on the nature of the “paper” that was
left (*it is impossible that will be the police” and “If they are
thief[,] they would not leave you anything.”).

28. On or about November 3, 2009, YOUSSEF AYOUB called
Younes El Saleh on the Younes Telephone. In that conversation,
Younes El Saleh asked YOUSSEF AYOUB if he had received “the new
invoice” and they also discuss an “old invoice” sent by El Saleh
to YOUSSEF AYOUB. YOUSSEF AYOUB then asked Younes El Saleh, in
sum and substance, whether he (YOUSSEF AYOUB) should put the
money for payment of both invoices into Younes El Saleh’s bank
account. Younes El Saleh responded affirmatively but told
YOUSSEF AYOUB “to deposit $9800 so they will not ask
questions.” YOUSSEF AYOUB agreed to do as Younes El Saleh
directed. Based on my training, experience and knowledge of this
investigation, I believe that, in this conversation, YOUSSEF

AYOUB and Younes El Saleh discussed a new invoice for counterfeit
25
clothing sent to YOUSSEF AYOUB by Younes El Saleh (“new
invoice”), as well as a previous debt owed by YOUSSEF AYOUB to El
Saleh for counterfeit clothing (“old invoice”). I also believe
that Younes El Saleh instructed YOUSSEF AYOUB on how to pay for
the counterfeit clothing Younes El Saleh sold to YOUSSEF AYOUB in
such a manner as to avoid detection and conceal and further their
illegal activity, namely trafficking in counterfeit clothing.
Specifically, I believe that “they” refers to bank employees, and
that Younes El Saleh instructed YOUSSEF AYOUB to deposit less
than $10,000 so that the bank employees would not grow suspicious
or report the deposit to law enforcement authorities (“deposit
$9800 so they will net ask . . . questions”).

29. YOUSSEF AYOUB was identified as the speaker in
these conversations through various means. First, CW is familiar
with YOUSSEF AYOUB through CW’s counterfeit clothing activities
and CW has stated, in sum and substance, that the number of the
telephone noted above is among the numbers he/she knows to
pertain to YOUSSEF AYOUB. Second, in wiretap recordings with
Younes El Saleh, Younes El Saleh gave the above-noted telephone
number to an individual who asked for “Youssef’s” telephone
number. Thus, based on my training, experience and knowledge of
this investigation, I believe that YOUSSEF AYOUB is the speaker

in the above-described conversations.
26

Vv. The Identification and Illegal Activity of ALT ATA SALEH

30. Another of the individuals intercepted over the
- above-described wiretaps was defendant ALI ATA SALEH. For
example, on or about August 3, 2009, Younes El Saleh used the
Younes Telephone to call ALI ATA SALEH, who answered a land line
registered to “Yasmine Sportswear.” During that conversation,
ALI ATA SALEH stated, “there is nothing” and “it is slow.”
Younes El Saleh then asked “if the . . . the colored one is
sold?” ALT ATA SALEH responded, “we have plenty” but added
“there is few of purple, black, red[{.]” Based on my training,
experience and knowledge of this investigation, I believe that,
in this conversation, Younes El Saleh and ALI ATA SALEH discussed
whether sales of counterfeit clothing were being made at the
store that ALI ATA SALEH operates. Specifically, I believe that
ALI ATA SALEH stated that sales were slow (“there is nothing” and
“it is slow”). I further believe that Younes El Saleh then
inquired about the sales of a specific counterfeit clothing item
("if the . . , the colored one is sold?”) and ALI ATA SALEH
responded that the item was, similarly, not selling well (‘we
have plenty”} but that others were, causing there to be fewer of
those items (“there is few of purple, black, red”). These
beliefs are corroborated by information provided by CW, who
identified a picture of ALI ATA SALEH and stated, in sum and

substance, that ALI ATA SALEH operates a counterfeit clothing
27
store. These beliefs are further corroborated by conversations
discussed below.

31. Later that day, ALI ATA SALEH used a cellular
telephone registered to him to call Younes El Saleh on the Younes
Telephone. In that conversation, Younes El Saleh instructed ALI
ATA SALEH, “In the check book[,] there is an envelope where there
[are] money orders that adds up to almost 20 thousand[.} Leave
them there fand] when the bill[s} come[,] put 600, 700, however
the bill comes. You pay as much as the money order.” Younes El
Saleh further instructed ALI ATA SALEH, “You have money orders
with all amounts, 600, 700, 800, 1000, 500, 300[.}] Choose the
closest one to the price. It is ok if it is a little over ora
little shorter.” Based on my training, experience and knowledge
of this investigation, I believe that, in this conversation,
Younes El Saleh provided instruction to ALI ATA SALEH about how
to conduct the finances of the counterfeit clothing store, which
Younes El Saleh left for ALI ATA SALEH to operate while Younes El
Saleh was in Lebanon, as noted above. Specifically, I believe
that Younes El Saleh explained that he had approximately $20,000
in money orders (“there [are] money orders that adds up to almost
20 thousand”) with various amounts and with the intended
recipient left blank (“You have money orders with all amounts,
600, 700, 800, 1000, 500, 300”"}. I further believe that Younes

El Saleh instructed ALI ATA SALEH that, when bills from
28
counterfeit clothing suppliers arrived, ALI ATA SALEH should use
a money order with an amount that was similar to the bill (“when
the bill[s] come[,] put 600, 700, however the bill comes. You
pay as much as the money order” and “Choose the closest one to
the price. It is ok if it is a little over or a little
shorter”). Based on my training, experience and knowledge of
this investigation, I believe that Younes El Saleh and ALI ATA
SALEH used this financial scheme, which involved pre-purchased
money orders with fixed amounts but blank intended recipients, in
order to conceal and further their illegal activity, namely
trafficking in counterfeit clothing.

32. On or about August 26, 2009, Younes Hl Saleh used
the Younes Telephone to call ALI ATA SALEH, who answered a land
line registered to “Yasmine Sportswear." During that
conversation, Younes El Saleh asked ALI ATA SALEH about “the
book, money order[s}? and the checks.” ALI ATA SALEH responded,
“Yes, all here[.]” Based on my training, experience and
knowledge of this investigation, I believe that, in this
conversation, Younes #1 Saleh and ALI ATA SALEH discussed the
status of the counterfeit clothing store, which Younes El Saleh
left for ALI ATA SALEH to operate while Younes El Saleh was in
Lebanon, as noted above. Specifically, I believe that Younes El
Saleh asked whether ALI ATA SALEH had properly maintained the

business ledger and kept track of monetary receipts (“the book,
29
money order[s} and the checks”), to which ALI ATA SALEH replied
affirmatively (“Yes, all here”).

33. On or about October 30, 2009, ALI ATA SALEH called
Younes El Saleh on the Younes Telephone. During that

conversation, ALT ATA SALEH stated, “I went in the morning to the

warehouse and saw nothing . .. the place was closed, and
everything was ok, hope nothing was gone.” Younes El Saleh
responded, “you can see nothing{,] they took everything.” ALT

ATA SALEH then asked, “They took the goods, uncle?” Younes El
Saleh answered, “Yes{,] took everything . . . the super[intendant

of the building] told me they came 6 am and took a container,

very big truck.” ALA ATA SALEH responded, “Some Arab rats called
on you” and added, “Next time you take a warehouse[,] you do not
tell anybody[,] not even your brother.” Based on my training,

experience and knowledge of this investigation, I believe that,
in this conversation, Younes El Saleh and ALI ATA SALEH discussed
the seizure of over $1 million dollars worth of counterfeit
clothing from Younes El Saleh’s warehouse. Specifically, f
believe that ALI ATA SALEH stated that he passed by the warehouse
location and all seemed in order (“I went in the morning to the
warehouse and saw nothing . .. the place was closed, and
everything was ok”). Younes El Saleh then explained that,
although it was not visible from outside the warehouse (“you can

see nothing”), which was ALI ATA SALEH’s vantage point, all the
30
counterfeit clothing was seized (“they took everything” and
“yes[,] took everything”). I further believe that ALI ATA SALEH
then opined that persons of Arabic descent had informed law
enforcement about the presence of counterfeit clothing in that
warehouse (“Some Arab rats called on you”) and advised Younes El
Saleh that, in the future, he should be more careful to hide the
locations of contraband storage facilities (“Next time you take a
warehouse[,}] you do not tell anybody[,] not even your
brother” ) .2/

34. ALI ATA SALEH was identified as the speaker in
these conversations through various means. First, Younes El
Saleh referred to the speaker in some of the wiretap
conversations as “Ali.” Second, the cellular telephone discussed
above is registered to ALI ATA SALEH with an address that is
consistent with the address ascribed to ALI ATA SALEH according
to the Department of Motor Vehicles and other public database
records. Agents have conducted surveillance of ALI ATA SALEH and
confirmed that the address does, in fact, pertain to ALI ATA
SALEH. Finally, CW stated, in sum and substance, that ALI ATA
SALEH operates a counterfeit clothing business located at 1205

Broadway on the second floor, which location matches the

 

2/ Notably, this conversation also confirms my belief that ALI
ATA SALEH knows that the clothing that he is selling in Younes El
Saleh’s store is counterfeit and that the finances he handled
while Younes Fl Saleh was in Lebanon were the proceeds of illegal
activity.
31
subscriber records for “Yasmine Sportswear.” In addition, CW
stated, in sum and substance, that ALI ATA SALEH is Younes El
Saleh’'s nephew. The intercepted calls corroborate this
information. Notably, the speaker addresses Younes El Saleh as
“uncle” in several conversations.

VI. The Identification and Illegal Activity of AYMAN JAAPAR

35. Another of the individuals intercepted over the
above-described wiretaps was defendant AYMAN JAAFAR, also known
as “Mohammad” and “Abu Jameel.” For example, on or about October
31, 2009, WADIE JAAFAR used the Wadie Telephone to call AYMAN
JAAFAR. During that conversation, WADIE JAAFAR asked AYMAN
JBAFAR if he (AYMAN JAAFAR) “has an email,” to which AYMAN JAAFAR
replied affirmatively. WADIE JAAFAR then instructed AYMAN JAAFAR
to “text it” so that he (WADIE JAAFAR) could send “pictures of
the sample.” AYMAN JAAFAR again responded affirmatively. Based
on my training, experience and knowledge of this investigation, I
believe that, in this conversation, AYMAN JAAFAR and WADIE JAAFAR
discussed exchanging email addresses (“has an email” and “text
it”) so that WADIE JAAFAR could provide to AYMAN JAAFAR
photographs of samples of counterfeit athletic clothing for the
purpose of AYMAN JAAFAR determining whether he could sell that
counterfeit clothing (“pictures of the sample”). This belief is

corroborated by the additional conversation described below, as
32
well as the subsequent seizure of counterfeit clothing discussed
below.

36. On or about November 5, 2009, AYMAN JAAFAR called

WADIE JAAFAR on the Wadie Telephone. In that conversation, AYMAN

JAAFAR stated, “I saw it[;] it is not [a] jersey.” WADIE JAAFAR
stated, “it is [a] jersey.” AYMAN JAAFAR disagreed, stating the
photograph was of “jackets.” AYMAN JAAFAR then inquired whether

WADIE JAAFAR “have some Yankee jacket[s], there is a huge demand,
they win the world series.” WADIE JAAFAR responded, “Let me see
if there is anything and I’1l call you.” Based on my training,
experience and knowledge of this investigation, I believe that,
in this conversation, AYMAN JAAFAR and WADIE JAAFAR discussed
whether WADIE JAAFAR could provide counterfeit athletic clothing
to AYMAN JAAFAR so that he could sell that counterfeit clothing.
Specifically, in this conversation, AYMAN JAAFAR complained to
WADIE JAAFAR that the pictures of counterfeit clothing samples
that WADIE JAAFAR had sent were of jackets rather than jerseys
(“it is not [a] jersey”), and WADIE JAAFAR disagreed with that
description of the samples (“it is [a] jersey”). I further
believe that AYMAN JAAFAR asked if WADIE JAAFAR could get
counterfeit New York Yankees baseball jackets (“have some Yankee
jacket[s], there is a huge demand, they win the world series”)
and that WADIE JAAFAR replied that he would check on the

availability of that counterfeit clothing (“Let me see if there
33
is anything and I’1l call you”). This belief is corroborated by
the subsequent seizure of counterfeit clothing discussed below.

37. On or about December 4, 2009, NYPD arrested three
individuals, including AYMAN JAAFAR, during the execution of a
search warrant at 1133 Broadway in Manhattan, New York. A search
of the location revealed approximately 3,000 counterfeit athletic
jerseys. AYMAN JAAFAR was present in the location when NYPD
entered and he had in his possession keys to the location. In
addition, NYPD retrieved a plastic bag that appeared to have been
thrown out of a window in that location. Inside the plastic bag
were AYMAN JAAFAR’s wallet and approximately $2,600 in United
States currency.

38. AYMAN JAAFAR was identified as the speaker in
these conversations through various means. First, at the time of
his arrest, he possessed the cellular telephone that was used in
the conversations described above. Second, prior to AYMAN
JARFAR'’s arrest by the NYPD, CW was shown a series of photographs
and identified one of the photographs as that of AYMAN JAAFAR.

CW stated, in sum and substance, that AYMAN JAAFAR sold
counterfeit athletic clothing from a location at 1133 Broadway.

VII. The Identification and Illegal Activity of
HUSSEN ALI CHAHINE

39. Another of the individuals intercepted over the
above-described wiretaps was defendant HUSSEN ALI CHAHINE, also

known as “Hussein.” For example, on or about October 7, 2009,
34
Younes El Saleh used the Younes Telephone to call HUSSEN ALI
CHAHINE., In this conversation, HUSSEN ALI CHAHINE asked Younes
El Saleh if he (HUSSEN ALI CHAHINE) “can use people from New
Jers[e]ly” to deliver some “goods” that he {HUSSEN ALI CHAHINE)
was sending. Younes El Saleh asked “if the same [company] is
going to do the pick up?” HUSSEN ALI CHAHINE responded
affirmatively, adding that “it would be better to store [the
goods] in [New Jersey].” Younes El Saleh agreed with HUSSEN ALI
CHAHINE, telling HUSSEN ALI CHAHINE that he should either put his
own address on the “goods” or the address of the “the guy who
would do the drop off." HUSSEN ALI CHAHINE responded that “the
guy who would make the drop off does not want to place his
address [on the goods].” Based on my training, experience and
knowledge of this investigation, I believe that, in this
conversation, Younes El Saleh and HUSSEN ALI CHAHINE discussed
the transportation and temporary storage of counterfeit goods
using a delivery company based in New Jersey (“it would be better
to store [the goods] in [New Jersey]”). I also believe that
HUSSEN ALI CHAHINE confirmed that the delivery pertained to
counterfeit goods when he acknowledged the delivery person’s
reluctance to place his own address on the shipping label {“the
guy who would make the drop off does not want to place his

address [on the goods}”).
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40. On or about October 16, 2009, HUSSEN ALI CHAHTNE
called Younes El Saleh on the Younes Telephone. In this
conversation, HUSSEN ALI CHAHINE told Younes El Saleh that he
(HUSSEN ALI CHAHINE) sold “merchandise” to a third party.+/

HUSSEN ALI CHAHINE stated, “I send him the picture of some Joe

Jeans[.] He liked them[.] I send them to him and now he said
f.JI don’t want them. [’]” Younes El Saleh asked HUSSEN ALI
CHAHINE, “I£ [he] can’t return [the jeans].” HUSSEN ALT CHAHINE
responded, “No, they are fake.” Based on my training, experience

and knowledge of this investigation, I believe that in this
conversation, HUSSEN ALI CHAHINE and Younes El Saleh discussed a
sale of counterfeit clothing made by HUSSEN ALI CHAHINE to-a
third party (“merchandise”). I further believe that HUSSEN ALI
CHAHINE discussed how he obtained the counterfeit jeans for the
third party after the third party expressed interest in the
counterfeit jeans upon seeing a photograph (“I send him the
picture of some Joe Jeans[.] He liked them{.]"). JI believe that
HUSSEN ALI CHAHINE then stated that after he obtained the

counterfeit jeans for the third party, the third party said that

 

he did not want the jeans (“I send them to him and now he said
[‘]I don’t want them.[’]”). I further believe that HUSSEN ALI
ao/ The recorded conversation references “Haj Youssef” as the

third party. Based on my knowledge of this investigation, I
believe that, in this conversation, the third party whom Younes
El Saleh and HUSSEIN CHAHINE referenced is the defendant YOUSSEF
AYOUB.
36
CHAHINE complained to Younes El Saleh that he (HUSSEN ALI
CHAHINE) could not “return” the jeans after the third party
decided he did not want them because they were counterfeit (“they
are fake”).

41. On or about October 27, 2009, Younes El Saleh used
the Younes Telephone to call HUSSEN ALI CHAHINE. In this
conversation, HUSSEN ALI CHAHINE and Younes El Saleh discussed a
website specializing in the sales of various brands of
counterfeit clothing. Specifically, HUSSEN ALI CHAHINE told
Younes El Saleh that he had emailed Younes El Saleh a “link to
the website with all the brands in it, including Akademiks, Alpha
Dodger, Azuri, Bathing Ape, Diesel, and Coogi.” Younes El Saleh
asked HUSSEN ALI CHAHINE if “all those [brands] were originals?”
HUSSEN ALI CHAHINE responded, “No. They are all counterfeit.”
HUSSEN ALI CHAHINE then told Younes El Saleh to “look at the
brand names and see what [you want]” so that HUSSEN ALI CHAHINE
“can call... toask .. . for a price.” Based on my training,
experience and knowledge of this investigation, I believe that,
in this conversation, HUSSEN ALI CHAHINE stated that he had sent
Younes El Saleh a link to a website specializing in counterfeit
clothing brands (“including Akademiks, Alpha Dodger, Azuri,
Bathing Ape, Diesel, and Coogi”). I further believe that HUSSEN
ALI CHAHINE stated that all of the clothing for sale on the

website was counterfeit (“They are all counterfeit") and that he
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37
would facilitate obtaining the counterfeit clothing for Younes El
Saleh (“look at the brand names and see what [you want]” and “can
call ...toask.. . for a price”).

42, HUSSEN ALI CHAHINE was identified as the speaker
in these conversations because he is listed as the subscriber of
record for the telephone number noted above. Furthermore, public
records, including Department of Motor Vehicles records, list
HUSSEIN CHAHINE as residing at the address provided in the
subscriber records for the above-noted telephone number. Thus,
based on my training, experience and knowledge of this
investigation, I believe that HUSSEN ALI CHAHINE is the speaker

in the above-described conversations.
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Ix. The Identification and Illegal Activity of HASSAN ALI HAMDAN
47. Another of the individuals intercepted over the
above-described wiretaps was defendant HASSAN ALI HAMDAN. For
example, on or about October 19, 2009, HASSAN ALI HAMDAN
(*“HAMDAN”) called Younes El Saleh on the Younes Telephone. In
this conversation, HAMDAN asked Younes Fl Saleh if he “wants
money today?” El Saleh responded that he (Younes El Saleh) is
“not going to force” HAMDAN. HASSAN ALI HAMDAN replied that he
wanted to give El Saleh “some money and tomorrow will give the
rest.” HAMDAN continued that he was waiting for some individuals
to “send him like 10” and that he had “some also, just to
accumulate today, to be a sizable amount.” Later in the
conversation, while discussing a debt owed to one of them by
another individual,*#’ HASSAN ALI HAMDAN asked, regarding this

other individual, “Where is all the money he makes, where it

goes?” Younes El Saleh responded, “Everyday a person is
traveling[,] one comes and one goes .. . everyone [who]
travel[s] takes with him $9,500.” HASSAN ALI HAMDAN responded,

“What is this means, when you owe money, you do not pay and send

money abroad?” Based on my training, experience and knowledge of

 

33! Based on my training, experience and knowledge of this
investigation, I believe that this individual is in fact either
defendant YOUSSEF AYOUB or defendant HAIDAR AYOUB.
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this investigation, I believe that, in this conversation, HASSAN
ALI HAMDAN and Younes El Saleh discussed a debt owed by HAMDAN to
El Saleh (“some money and tomorrow will give the rest”). I also
believe that HASSAN ALI HAMDAN and Hl Saleh then discussed a debt
owed by another individual, and how this individual sent his
money abroad instead of paying his debts (“What is this means,
when you owe money, you do not pay and send money abroad?”}). I
believe that the "$9,500" referenced in their conversation
regarding sending money abroad (“everyday a person is
traveling[,] one comes and one goes .. . everyone fwho]
travel[s] takes with him $9,500”) shows both HASSAN ALI HAMDAN’Ss
and El Saleh's knowledge with respect to how to export United
States currency abroad in such a manner as to avoid detection by
law enforcement and conceal and further illegal activity, namely
trafficking in counterfeit clothing.

48. On or about October 29, 2009, at approximately

3:09 p.m., Younes El Saleh, using the Younes Telephone, called
HASSAN ALI HAMDAN. Younes El Saleh told HASSAN ALI HAMDAN not to
come and that “the warehouse is gone.” HASSAN ALI HAMDAN asked
El Saleh, “How is this happened?” El Saleh replied, “The police,
the police is inside, damn.” HASSAN ALI HAMDAN told El Saleh to
“Leave, do not stay there” and continued, “For sure they have our
pictures and the car numbers also.” Based on my training,

experience and knowledge of this investigation, I believe that
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Younes El Saleh called HASSAN ALT HAMDAN from the vicinity of El
Saleh's warehouse shortly after the raid described above that
resulted in the seizure of over $1 million worth of counterfeit
goods {"“The police, the police is inside, damn”). I also believe
that HASSAN ALI HAMDAN instructed El Saleh to leave the vicinity
of the warehouse {“Leave, do not stay there”} because he was
afraid that the police would be able to identify them through
photographs and/or license plate numbers (“For sure they have our
pictures and the car numbers also”).

49, On or about October 29, 2009, at approximately
5:03 p.m., HASSAN ALI HAMDAN called Younes El Saleh on the Younes
Telephone. HAMDAN and told Younes El Saleh that he (HASSAN ALI
HAMDAN) “just passed in front of the.warehouse” and “everything
is locked.” El Saleh asked HAMDAN “if it is one or two locks?”
HASSAN ALI HAMDAN replied “only one” and told El Saleh that he
“is turning back to look, but is afraid they will follow” him
because he had “goods in the car.” Based on my training,
experience and knowledge of this investigation, I believe that,
in this conversation, Younes El Saleh and HASSAN ALT HAMDAN
discussed, once again, the raid on El Saleh’s warehouse,
described above. I further believe that HASSAN ALI HAMDAN had
gone to the warehouse shortly after the raid and described to El
Saleh what he saw (“just passed in front of the warehouse” and

“everything is locked”). I also believe that HASSAN ALI HAMDAN
45
expressed fear that the police would follow him, which he did not
want to occur because he had additional counterfeit clothing in
his car (“afraid they will follow” and “goods in the car").

50. On or about October 29, 2009, at approximately
5:17 p.m., HASSAN ALI HAMDAN called Younes El Saleh on the Younes
Telephone to discuss again the raid on El Saleh’s warehouse. El
Saleh asked HAMDAN “if it possibly was the company?” HASSAN ALI
HAMDAN replied, “For sure they were the company[,] not the
police.” HAMDAN asked El Saleh whether he (Younes El Saleh) saw

“if they were the actual police,” and El Saleh responded that he

“saw someone going in. . . {but] did not see the word police nor
a policeman at all.” HASSAN ALI HAMDAN responded, “it is
definitely a company then... that came to pick up their

things” and advised El Saleh “to find another place
temporarily[.]” Based on my training, experience and knowledge
of this investigation, I believe that, in this conversation,
Younes El Saleh and HASSAN ALI HAMDAN discussed their belief that
clothing industry representatives (“the company”) were
responsible for the raid on El Saleh’s warehouse (“it is
definitely a company then . .. that came to pick up their
things”). I further believe that HASSAN ALI HAMDAN advised El
Saleh to find another location in which to store his counterfeit

goods (“find another place temporarily”).
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51. HASSAN ALI HAMDAN was identified as the speaker in
these conversations because the subscriber records for the above-
noted telephone number list HASSAN ALI HAMDAN’s home address as
the address of record. The telephone subscriber address also
matches the address listed for HASSAN ALI HAMDAN with the
Department of Motor Vehicles. Furthermore, HASSAN ALI HAMDAN
listed the above-noted telephone number as his contact number on
a recent United States passport application. Finally, agents
conducted surveillance on HASSAN ALI HAMDAN, in conjunction with
the wiretap conversations, and he acted consistently with the
individual who was overheard on the wiretap. Thus, based on my
training, experience and knowledge of this investigation, I
believe that HASSAN ALI HAMDAN is the speaker in the above-
described conversations.
XK. The Identification and Illegal Activity of MAHDI TALEEB

52. Another of the individuals intercepted over the
above-described wiretaps was defendant MAHDI TALEEB. For
example, on or about August 28, 2009, Younes El Saleh used the
Younes Telephone to call MAHDI TALEEB. During that conversation,
Younes El Saleh stated, “You have 25 days to pay.” MAHDI TALEEB
responded, “Just give me your account number[,] I put cash for
you.” Younes El Saleh then stated, “Here’s the account number.
The name is Zoom Denim and account number 743215790." Based on

my training, experience and knowledge of this investigation, I
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believe that in this conversation, Younes El Saleh provided bank
account information to MAHDI TALEEB so that TALEEB could deposit
proceeds of counterfeit clothing trafficking in order to further
their illegal activity. Specifically, I believe that Younes El
Saleh told MAHDI TALEEB that he (TALEEB) should pay within 25
days for counterfeit clothing El Saleh had provided (“You have 25
days to pay”) and TALEEB responded that he would deposit cash
into El Saleh’s bank account (“Just give me your account
number[,] I put cash for you”). I further believe that Younes El
Saleh then provided to MAHDI TALEEB the bank account controlled
by co-conspirator Henri Al Halabi, which bank account was
discussed above and seized incident to Al Halabi’s arrest (“The
name is Zoom Denim and account number 743215790"). My beliefs
regarding this conversation are corroborated by other
conversations discussed herein.

53. On or about September 15, 2009, MAHDI TALEEB
called Younes El Saleh on the Younes Telephone. During that
conversation, Younes El Saleh stated that he received *“4000," to
which MAHDI TALEEB responded, “You will receive 5 in the
morning.” Younes El Saleh then asked, “5 like this or like
those?” MAHDI TALEEB stated, “S without checks.” Younes El
Saleh then asked, “Is it Abu Ali the name[?]” MAHDI TALEEB
responded, “It is Abu George, his name is Salah Eze~Ideen.”

Younes El Saleh then asked, “Who is Salah Eze-Ideen?” Later in
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the conversation, MAHDI TALEEB stated, “The whole three months of
summer, there was no business” and added, “The Black Label and
Coogi” he received from Younes El Saleh “are still there.” Based
on my training, experience and knowledge of this investigation, I
believe that, in this conversation, Younes El Saleh and MAHDI
TALEEB discussed in code the method that MAHDI TALEEB used to pay
for counterfeit clothing obtained from Younes El Saleh.
Specifically, I believe that Younes El Saleh stated that he
received $4,000 ("4000") and MAHDI TALEER responded that another
$5,000 would be received by the next morning (“You will receive 5
in the morning”). I further believe that Younes F1 Saleh then
asked in coded language about the form of the payment (“5 like
this or like those”) and MADHI TALEER explained that the payment
would come in money orders {*5 without checks”) in the name of a
third party (“It is Abu George, his name is Salah Eze-Ideen” )
that Younes El Saleh did not know (*Who is Salah Eze-Ideen”), a
method used to conceal the source of the illegal proceeds. I
believe-that later in the conversation, MAHDI TALEEB lamented
that sales of counterfeit clothing were slow ("The whole three
months of summer, there was no business”) and, for that reason,
he (TALEEB) still possessed counterfeit clothing Younes El Saleh
had supplied previously (“The Black Label and Coogi... are

still there”}.
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54. On or about October 8, 2009, Younes El Saleh used
the Younes Telephone to call MAHDI TALEEB. During that

conversation, MAHDI TALEFB stated that he “deposited money today

but the rest are in money order[.]” TALEEB added that he “will
deposit them tomorrow morning . . . tomorrow morning let him
check the account . . . call him and ask him to check the
account, they will be in his account.” Younes El Saleh

responded, “He called me some time ago and asked, ‘Where is your
friend? He did not deposit anything?’” MAHDI TALEEB then
stated, “Tell him ten in the morning to check it out, you tell
him that[.] Anyway, is he the same one we use[d] to speak with?”
Younes El Saleh responded, “Yes, he is the Jewish[,]” adding “I
didn't look, so he said he didn’t deposit anything, and I told
him let me call him.” Based on my training, experience and
knowledge of this investigation, I believe that, in this
conversation, “him” and “the Jewish” refer to money laundering
co-conspirator Henri Al Halabi and that MAHDI TALEEB and Younes
El Saleh discussed depositing proceeds of illegal counterfeit
clothing trafficking into the Zoom Denim bank account controlled
by Al Halabi. Specifically, I believe that MAHDI TALEEB stated
that he deposited cash on one day and that he would deposit money
orders the next morning (“deposited money today but the rest are
in money order” and “will deposit them tomorrow morning”) in an

effort to structure the deposits and conceal the illegal
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proceeds. I further believe that MAHDI TALEEB stated that Henri
Al Halabi should check the bank account the following morning for
the full amount of the illegal proceeds (“tomorrow morning let
him check the account .. . call him and ask him to check the
account, they will be in his account” and “Tell him ten in the
morning to check it out, you tell him that”). Based on my
training, experience and knowledge of this investigation, I
believe that Younes El Saleh stated that he had spoken with Henri
Al Halabi, who stated that MAHDI TALEEB had not deposited the
money (*He called me some time ago and asked, ‘Where is your
friend? He did not deposit anything?” and “he said he didn’t
deposit anything”), which in turn prompted Younes El Saleh to
call MAHDI TALEEB (“I told him let me call him”).

55. MAHDI TALEEB was identified as the speaker in
these conversations through various means. First, he is listed
as the subscriber of record for the telephone number noted above.
Second, public records list MAHDI TALEEB as previously residing
at the address provided in the subscriber records for the above-
noted telephone number. Finally, on or about March 2, 2010, an
agent who had prior interactions with TALEEB contacted him at the
above-noted number, and TALEEB answered the telephone and
identified himself. Thus, based on my training, experience and
knowledge of this investigation, I believe that MAHDI TALEEB is

the speaker in the above-described conversations.
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WHEREFORE, your deponent respectfully requests that the
defendants WADIE JAAFAR, HUSSEN ALI CHAHINE, also known as

“Hussein,” YOUSSEF AYOUB, HAIDAR AYOUB,

 

AYMAN JAAFAR, also known as “Mohammad” and “Abu Jameel,” HASSAN

ALI HAMDAN, ALI ATA SALEH and MAHDI TALEEB be dealt with

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Enforcement Administration

according to law.

Swoyn to before me this
4 Day of rch, ,2010

Hail bike

THE LT VIKTOR/V . POHORELSKY
UNITED STATES MAGIS re JUDGE
EASTERN DISTRICT OF NEW YORK

  
